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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA

        v.                                        Case No. 1:18-PO-07131

 BRYAN C. SLOCUM

        Defendant


                              ENTRY OF APPEARANCE

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

       Kindly enter the appearance of John K. Phoebus and Anthenelli, Phoebus &

Hickman, LLC, as retained counsel for the Defendant, Bryan C. Slocum, I hereby certify that

I am admitted to practice in this Court and that my bar number is 25169.




November 7, 2018                                 /s/ John K. Phoebus
Date                                             John K. Phoebus
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